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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE

                                                )
In re                                           )      Chapter 11
                                                )
TOUGH MUDDER INCORPORATED,                      )      Case No. 20-10036 (CSS)
                                                )
                     Debtor.                    )
                                                )
                                                )
Tax I.D. No. XX-XXXXXXX                         )

                                                )
In re                                           )      Chapter 11
                                                )
TOUGH MUDDER EVENT PRODUCTION                   )      Case No. 20-10037 (CSS)
INCORPORATED,                                   )
                                                )      Objection Deadline:
                     Debtor.                    )      February 18, 2020, at 4:00 p.m. (EST)
                                                )
                                                )      Hearing Date:
                                                )      February 25, 2020, at 1:00 p.m. (EST)
                                                )
Tax I.D. No. XX-XXXXXXX                         )

 CHAPTER 11 TRUSTEE’S MOTION FOR ENTRY OF AN ORDER DIRECTING THE
      JOINT ADMINISTRATION OF THE DEBTORS’ CHAPTER 11 CASES

              Derek C. Abbott, Esq., the chapter 11 Trustee (the “Trustee”) for Tough Mudder

Inc. (“Tough Mudder”) and Tough Mudder Event Production Inc. (“TM Events” and, together

with Tough Mudder, the “Debtors”), hereby respectfully moves as follows (the “Motion”):

                                  RELIEF REQUESTED

              1.     The Trustee submits this Motion pursuant to section 105(a) of title 11 of

the United States Code (the “Bankruptcy Code”), rule 1015(b) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and rule 1015-1 of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”), requesting entry of an order, substantially in the form attached
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hereto as Exhibit A (the “Proposed Order”): (i) directing the joint administration of the Debtors’

above-captioned chapter 11 cases (the “Chapter 11 Cases”) for procedural purposes only and (ii)

granting certain related relief described herein.

                 2.       The Trustee requests that the Clerk of the Court maintain one file and one

docket for the Chapter 11 Cases, which file and docket shall be the file and docket for Tough

Mudder, and that the caption of these Chapter 11 Cases be modified to reflect their joint

administration as follows:

                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                            )
    In re                                                   )      Chapter 11
                                                            )
    TOUGH MUDDER INC., et al.,1                             )      Case No. 20-10036 (CSS)
                                                            )
                           Debtors.                         )      Jointly Administered
                                                            )
1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845). The Debtors’ address is
15 MetroTech Center, Brooklyn, NY 12201.

                 3.       The Trustee further requests that this Court order that the foregoing

caption satisfies the requirements set forth in section 342(c)(1) of the Bankruptcy Code and

Bankruptcy Rule 1005.

                4.        The Trustee also seeks the Court’s direction that a separate docket entry be

made on the docket of the chapter 11 case of TM Events, Case No. 20-10037 (CSS),

substantially as follows:

                 An order has been entered in this case consolidating this case with
                 the case of Tough Mudder Inc., Case No. 20-10036 (CSS) for
                 procedural purposes only and providing for its joint administration
                 in accordance with the terms thereof. The docket in the chapter
                 11 case of Tough Mudder Inc., Case No. 20-10036 (CSS),
                 should be consulted for all matters concerning this case.

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                                   JURISDICTION AND VENUE

               5.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court

for the District of Delaware, dated as of February 29, 2012. This matter is a core proceeding

pursuant to 28 U.S.C § 157(b)(2). Pursuant to Local Rule 9013-1(f), the Trustee consents to the

entry of a final order by the Court in connection with this Motion to the extent that it is later

determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

connection herewith consistent with Article III of the United States Constitution.

               6.       Venue in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

               7.       The statutory and other legal predicates for the relief requested herein are

section 105(a) of Bankruptcy Code, Bankruptcy Rule 1015(b), and Local Rule 1015-1.

                                            BACKGROUND

               8.       On January 7, 2020 (the “Petition Date”), Valley Builders LLC,

Trademarc Associates, Inc., and David Watkins Homes Inc. (collectively, the “Petitioning

Creditors”) filed involuntary petitions under chapter 11 of the Bankruptcy Code against Tough

Mudder and TM Events.

               9.       On January 21, 2020, the Court entered the Order Directing the

Appointment of a Chapter 11 Trustee [D.I. 18]. 1 The Court entered an order approving the

appointment of the Trustee on January 30, 2020 [D.I. 24] (the “Appointment Date”), and the

Trustee accepted his appointment on January 31, 2020 [D.I. 25]. Since that time, the Trustee has

managed the Debtors’ affairs pursuant to section 1106 of the Bankruptcy Code. No committees

have been appointed or designated.


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       Docket item references in this Motion are to the docket maintained in the chapter 11 case of Tough Mudder
       Inc., Case No. 20-10036 (CSS).

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               10.      A more detailed description of the Debtors’ business and the facts and

circumstances leading to the Chapter 11 Cases is set forth in the Declaration of Kyle McLaughlin

in Support of Chapter 11 Trustee’s Motion for Entry of an Order (I) Approving Entry Into and

Performance Under Asset Purchase Agreement by and Among Spartan Race, Inc., and Debtors’

Chapter 11 Trustee, (II) Authorizing the Sale of Substantially All of the Debtors’ Assets Free and

Clear of All Liens, Claims, Encumbrances, and Interests, (III) Approving the Assumption and

Assignment of Certain Contracts and Related Procedures, (IV) Approving the Bid Protections,

and (V) Granting Related Relief (the “McLaughlin Declaration”). 2 This Motion incorporates by

reference the facts set forth in the McLaughlin Declaration as if fully set forth herein.

                                          BASIS FOR RELIEF

               11.      Section 105(a) of the Bankruptcy Code authorizes this Court to issue “any

order, process, or judgment that is necessary or appropriate to carry out the provisions of this

title.” 11 U.S.C. § 105(a) (2018). Bankruptcy Rule 1015(b) provides that, if two or more

petitions are pending in the same court by or against a debtor and an affiliate, “the court may

order a joint administration of the estates.” Fed. R. Bankr. P. 1015(b). In this case, TM Events

is an “affiliate” of Tough Mudder, as Bankruptcy Code section 101(2) defines that term. Local

Rule 1015-1 similarly provides for joint administration of chapter 11 cases when the facts

demonstrate that joint administration “is warranted and will ease the administrative burden for

the Court and the parties.” Del. Bankr. L.R. 1015-1. Local Rule 1015-1 goes even further,

permitting the Court to enter an order of joint administration “without notice and an opportunity


2
       The McLaughlin Declaration is attached as Exhibit C to the Chapter 11 Trustee’s Motion for Entry of an
       Order (I) Approving Entry Into and Performance Under Asset Purchase Agreement by and Among Spartan
       Race, Inc., and Debtors’ Chapter 11 Trustee, (II) Authorizing the Sale of Substantially All of the Debtors’
       Assets Free and Clear of All Liens, Claims, Encumbrances, and Interests, (III) Approving the Assumption
       and Assignment of Certain Contracts and Related Procedures, (IV) Approving the Bid Protections, and (V)
       Granting Related Relief [D.I. 30].

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for hearing” upon the filing of “an affidavit, declaration or verification” making such a showing.

Id. Accordingly, the Court has the authority to grant the relief requested herein.

                12.     Joint administration of the Chapter 11 Cases will provide administrative

convenience to all parties in interest without affecting the substantive rights of any party in

interest. Many of the motions, applications, hearings, and orders that will arise in these chapter

11 cases will affect the Debtors jointly. For this reason, joint administration of these cases for

procedural purposes would best serve the interests of the Trustee, the Debtors, their creditors,

and other parties in interest.

                13.     Additionally, joint administration of the Debtors’ respective estates will

ease the administrative burden on the Court and parties in interest. The joint administration of

these Chapter 11 Cases will permit the Clerk of the Court to utilize a single docket for the cases

and to combine notices to creditors and other parties in interest in the Debtors’ respective cases.

Joint administration also will enable, and ease the burden of, parties in interest in each of the

Chapter 11 Cases staying apprised of matters before the Court.

                14.     Because these Chapter 11 Cases involve more than one Debtor, joint

administration will reduce significantly the volume of paper that otherwise would be filed with

the Clerk of the Court, render the completion of various administrative tasks less costly, and

minimize the number of unnecessary delays. Moreover, the relief requested by this Motion also

will simplify supervision of the administrative aspects of these cases by the Office of the United

States Trustee for the District of Delaware (the “U.S. Trustee”).

                15.     Importantly, joint administration of these Chapter 11 Cases will not

prejudice or adversely affect the rights of the Debtors’ creditors because the relief sought herein

is purely procedural and is not intended to affect substantive rights.



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                                            NOTICE

               16.    Notice of this Motion shall be given to: (a) the U.S. Trustee, (b) the

Debtors’ twenty (20) largest unsecured creditors on a consolidated basis, and (c) any other party

that has requested notice pursuant to Bankruptcy Rule 2002-1(b). The Trustee respectfully

submits that no further notice of this Motion is required under the circumstances.

               WHEREFORE, for the reasons set forth herein, the Trustee respectfully requests

that the Court (a) enter the Proposed Order substantially in the form annexed as Exhibit A hereto

granting the relief requested in this Motion and (b) grant such other and further relief as may be

just and proper.



 Dated: February 11, 2020              MORRIS, NICHOLS, ARSHT & TUNNELL LLP
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                                      Proposed Counsel for Derek C. Abbott, Esq., as Chapter
                                      11 Trustee to Tough Mudder Inc. and Tough Mudder Event
                                      Production Incorporated




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